Case 2:21-cv-00213-JRG Document 124-1 Filed 05/23/22 Page 1 of 1 PageID #: 4553




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                 Civil Action No. 2:21-cv-213
                                                                  (Lead Case)
        vs.

 TELEFONAKTIEBOLAGET LM
 ERICSSON AND ERICSSON INC.,                              JURY TRIAL DEMANDED

               Defendants.


 GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                 Civil Action No. 2:21-cv-215
                                                                  (Member Case)
        vs.

 NOKIA CORPORATION, NOKIA SOLUTIONS
 AND NETWORKS OY, AND NOKIA OF                            JURY TRIAL DEMANDED
 AMERICA CORPORATION,

               Defendants.


 ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF
 TO TIME TO TAKE DEPOSITION AND RECEIVE DOCUMENTS OF DR. WILLIAM
                               CHOI

        BEFORE THE COURT is Defendants Ericsson and Nokia’s Unopposed Motion for

 Extension of Time to Take Deposition and Receive Documents of Dr. William Choi. Noting that

 it is unopposed and considering the circumstances, the Court finds that the Motion should be and

 is hereby GRANTED.

        IT IS THEREFORE ORDERED that the close of fact discovery shall be extended for

 the sole and limited purpose of deposing and receiving documents produced by Dr. William Choi.
